    Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 1 of 19




               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

BRIANNA BOE et al.,                 )
                                    )
             Plaintiffs,            )
                                    )
and                                 )
                                    )
UNITED STATES OF AMERICA,           )
                                    )
             Plaintiff-Intervenor,  )
                                    )
v.                                  ) No. 2:22-cv-00184-LCB-CWB
                                    ) Hon. Liles C. Burke
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama, et al.,           )
                                    )
             Defendants.            )

DEFENDANTS’ NOTICE OF EVIDENTIARY SUBMISSION IN SUPPORT
                OF SUMMARY JUDGMENT

      Defendants submit the following exhibits in support of their motion for

summary judgment. As explained in Defendants’ Motion for Leave to File Under

Seal Unredacted Motion for Summary Judgment and Brief and Evidentiary

Submissions in Support (Doc. 556), some of these exhibits—designated in the below

list—are being submitted to the Court under seal, at least provisionally.
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 2 of 19




                                                                 Exhibit
Alabama Vulnerable Child Compassion and Protection Act, Act        1
2022-289 (SB184)

Expert Report of James Cantor, Ph.D.                                2

Supplemental Report of James Cantor, Ph.D.                          3

Appendix A to Supplemental Report of James Cantor, Ph.D.            4
(Submitted Under Seal)

Expert Report of Paul W. Hruz, M.D., Ph.D.                          5

Supplemental Report of Paul W. Hruz, M.D., Ph.D.                    6
(Submitted Under Seal)

Expert Report of Michael K. Laidlaw, M.D.                           7

Supplemental Report of Michael K. Laidlaw, M.D.                     8
(Submitted Under Seal)

Second Supplemental Report of Michael K. Laidlaw, M.D.              9
(Submitted Under Seal)

Expert Report of Angela C.E. Thompson, M.D., MPH, FACOG             10

Expert Report of Geeta Nangia, M.D.                                 11

Supplemental Report of Geeta Nangia, M.D.                           12
(Submitted Under Seal)

Second Supplemental Report of Geeta Nangia, M.D.                    13
(Submitted Under Seal)

Supplemental Report of Farr Curlin, M.D.                            14




                                       2
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 3 of 19




Expert Report of Kristopher Kaliebe, M.D.                           15

Supplemental Report of Kristopher Kaliebe, M.D.                     16
(Submitted Under Seal)

Expert Report of Patrick W. Lappert, M.D.                           17

Marci L. Bowers, M.D., Deposition Transcript                        18
(Submitted Under Seal)

Marci L. Bowers, M.D., Deposition Exhibits 1-24                     19
(Submitted Under Seal)

Marci L. Bowers, M.D., Deposition Exhibits 25-30                    20
(Submitted Under Seal)

Eli Coleman, Ph.D., Deposition Transcript                           21
(Submitted Under Seal)

Eli Coleman, Ph.D., Deposition Exhibits 1-19                        22
(Submitted Under Seal)

Eli Coleman, Ph.D., Deposition Exhibits 20-29                       23
(Submitted Under Seal)

Dan Karasic, M.D., Deposition Transcript                            24
(Submitted Under Seal)

Dan Karasic, M.D., Deposition Exhibits 1-9, 13-23                   25
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Transcript                    26
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Exhibits 1-5                  27
(Submitted Under Seal)




                                      3
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 4 of 19




Hussein Abdul-Latif, M.D., Deposition Exhibits 6-9                  28
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Exhibit 10                    29
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Exhibits 11-15                30
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Exhibits 16-19                31
(Submitted Under Seal)

Hussein Abdul-Latif, M.D., Deposition Exhibits 20-21                32
(Submitted Under Seal)

Morissa J. Ladinsky, M.D., Deposition Transcript                    33

Morissa J. Ladinsky, M.D., Deposition Exhibits 1-10                 34

Morissa J. Ladinsky, M.D., Deposition Exhibits 11-20                35

Morissa J. Ladinsky, M.D., Deposition Exhibits 21-33                36

Heather Austin, Ph.D., Deposition Transcript                        37
(Submitted Under Seal)

Heather Austin, Ph.D., Deposition Exhibits 1-5                      38
(Submitted Under Seal)

Daniel Shumer, M.D., Deposition Transcript                          39
(Submitted Under Seal)

Daniel Shumer, M.D., Deposition Exhibits 1-13                       40

Daniel Shumer, M.D., Deposition Exhibits 14-25                      41




                                       4
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 5 of 19




Daniel Shumer, M.D., Deposition Exhibits 25-42                      42

Armand H. Antommaria, M.D., Ph.D., Deposition Transcript            43

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 1-3          44

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 4-8          45

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 9-14         46

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 15-16        47

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibit 17            48

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibit 18            49

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 19-21        50

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 22-23        51

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 24-25        52

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibit 26            53

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibit 27            54

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 28-30        55

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 31-33        56

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 34-39        57

Armand H. Antommaria, M.D., Ph.D., Deposition Exhibits 40-42        58




                                     5
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 6 of 19




Meredithe McNamara, M.D., Deposition Transcript                     59

Meredithe McNamara, M.D., Deposition Exhibits 1-5                   60

Meredithe McNamara, M.D., Deposition Exhibits 6-9                   61

Meredithe McNamara, M.D., Deposition Exhibits 10-13                 62

Meredithe McNamara, M.D., Deposition Exhibit 14                     63

Meredithe McNamara, M.D., Deposition Exhibit 15                     64

Meredithe McNamara, M.D., Deposition Exhibits 16-22                 65

Aron Janssen, M.D., Deposition Transcript                           66

Aron Janssen, M.D., Deposition Exhibits 1-14                        67

Aron Janssen, M.D., Deposition Exhibits 15-20                       68

Jenifer Lightdale, M.D., Deposition Transcript                      69
(Submitted Under Seal)

Jenifer Lightdale, M.D., Deposition Exhibits 1-5                    70
(Submitted Under Seal)

Jenifer Lightdale, M.D., Deposition Exhibits 6-11                   71
(Submitted Under Seal)

Jenifer Lightdale, M.D., Deposition Exhibits 12-15                  72
(Submitted Under Seal)

Jenifer Lightdale, M.D., Deposition Exhibits 16-18                  73
(Submitted Under Seal)




                                       6
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 7 of 19




Kenneth Goodman, Ph.D., Deposition Transcript                       74
(Submitted Under Seal)

Kenneth Goodman, Ph.D., Deposition Exhibits 1-4                     75
(Submitted Under Seal)

Kenneth Goodman, Ph.D., Deposition Exhibit 5                        76
(Submitted Under Seal)

Kenneth Goodman, Ph.D., Deposition Exhibits 6-8                     77
(Submitted Under Seal)

Kenneth Goodman, Ph.D., Deposition Exhibits 9-15                    78
(Submitted Under Seal)

Devin Caughey, Ph.D., Deposition Transcript                         79

Devin Caughey, Ph.D., Deposition Exhibits 1-5                       80

Devin Caughey, Ph.D., Deposition Exhibits 7-21                      81

Devin Caughey, Ph.D., Deposition Exhibits 24-49                     82

Devin Caughey, Ph.D., Deposition Exhibits 51-54                     83

Independent Review of Gender Identity Services for Children and     84
Young People: Final Report, The Cass Review (April 2024)

The BMJ – Hilary Cass Reviews                                       85
     Kamran Abbasi, The Cass Review: An Opportunity to Unite
     Behind Evidence Informed Care in Gender Medicine, THE
     BMJ (April 2024)

      Kamran Abbasi, “Medication is Binary, but Gender
      Expressions are often not”–the Hilary Cass Interview, THE
      BMJ (April 2024)




                                      7
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 8 of 19




      Hilary Cass, Gender Medicine for Children and Young
      People is Built on Shaky Foundations. Here is How We
      Strengthen Services, THE BMJ (April 2024)

      Clare Dyer, Guidelines on Gender Related Treatment Flouted
      Standards and Overlooked Poor Evidence, Finds Cass
      Review, THE BMJ (April 2024)

Jo Taylor et al., Clinical Guidelines for Children and Adolescents    86
Experiencing Gender Dysphoria or Incongruence: A Systematic
Review of Guideline Quality (Part 1), ARCHIVES OF DISEASE IN
CHILDHOOD (April 2024)

Jo Taylor et al., Clinical Guidelines for Children and Adolescents    87
Experiencing Gender Dysphoria or Incongruence: A Systematic
Review of Guideline Quality (Part 2), ARCHIVES OF DISEASE IN
CHILDHOOD (April 2024)

Jo Taylor et al., Interventions to Suppress Puberty in Adolescents    88
Experiencing Gender Dysphoria or Incongruence: A Systematic
Review, ARCHIVES OF DISEASE IN CHILDHOOD (April 2024)

Jo Taylor et al., Masculinising and Feminising Hormone                89
Interventions for Adolescents Experiencing Gender Dysphoria or
Incongruence: A Systematic Review, ARCHIVES OF DISEASE IN
CHILDHOOD (April 2024)

Claire Heathcote et al., Psychosocial Support Interventions for       90
Children and Adolescents Experiencing Gender Dysphoria or
Incongruence: A Systematic Review, ARCHIVES OF DISEASE IN
CHILDHOOD (April 2024)

Ruth Hall et al., Impact of Social Transition in Relation to Gender   91
for Children and Adolescents: A Systematic Review, ARCHIVES OF
DISEASE IN CHILDHOOD (April 2024)

Jo Taylor et al., Care Pathways of Children and Adolescents           92
Referred to Specialist Gender Services: A Systematic Review,
ARCHIVES OF DISEASE IN CHILDHOOD (April 2024)


                                        8
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 9 of 19




Jo Taylor et al., Characteristics of Children and Adolescents       93
Referred to Specialist Gender Services: A Systematic Review,
ARCHIVES OF DISEASE IN CHILDHOOD (April 2024)

Ruth Hall et al., Gender Services for Children and Adolescents      94
Across the EU-15+ Countries: An Online Survey, ARCHIVES OF
DISEASE IN CHILDHOOD (April 2024)

Evidence Review: Gonadotrophin Releasing Hormone Analogues          95
for Children and Adolescents with Gender Dysphoria, National
Institute for Health and Care Excellence (October 2020)

Evidence Review: Gender-Affirming Hormones for Children and         96
Adolescents with Gender Dysphoria, National Institute for Health
and Care Excellence (October 2020)

Puberty Suppressing Hormones (PSH) for Children and Young           97
People who have Gender Incongruence / Gender Dysphoria,
England’s National Health Service (March 2024)

Prescribing of Gender Affirming Hormones (Masculinising or          98
Feminising Hormones) as part of the Children and Young People’s
Gender Service, National Health Service England (March 2024)

NHS England’s Response to the Final Report of the Independent       99
Review of Gender Identity Services for Children and Young People,
National Health Service England (April 2024)

NHS England’s Letter to Adult Gender Dysphoria Clinics, National    100
Health Service England (April 2024)

Azeen Ghorayshi, Youth Gender Medications Limited in England,       101
Part of Big Shift in Europe, NEW YORK TIMES (April 2024)

Hannah Barnes, Gender Identity Services in the UK are on Pause as   102
Evidence Comes Under Scrutiny, THE BMJ (March 2023)

Care of Children and Adolescents with Gender Dysphoria,             103
Socialstyrelsen (December 2022)


                                       9
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 10 of 19




Gender Dysphoria in Children and Adolescents: An Inventory of the   104
Literature, SBU (December 2019)

Care of Children and Adolescents with Gender Dysphoria (Certified   105
Translation), Socialstyrelsen (December 2022)

Jonas F. Ludvigsson et al., A Systematic Review of Hormone          106
Treatment for Children with Gender Dysphoria and
Recommendations for Research, ACTA PAEDIATRICA (January 2023)

Summary of a Recommendation by COHERE Finland: Medical              107
Treatment Methods for Dysphoria Associated with Variations in
Gender Identity in Minors – Recommendation, Palveluvalikoima
(June 2020)

Recommendation by COHERE Finland: Medical Treatment                 108
Methods for Dysphoria Related to Gender Variance in Minors
(Certified Translation), Palveluvalikoima (June 2020)

Patient Safety for Children and Young People with Gender            109
Incongruence (Certified Translation), Ukom (March 2023)

Jennifer Block, Norway’s Guidance on Paediatric Gender              110
Treatment is Unsafe, Says Review, THE BMJ (March 2023)

Important Service Update – Young Person’s Gender Service,           111
Sandyford Clinic (April 2024)

Azeen Ghorayshi, Scotland Pauses Gender Medications for Minors,     112
NEW YORK TIMES (April 2024)

(FAQ) WHO Development of a Guideline on the Health of Trans         113
and Gender Diverse People, World Health Organization (January
2024)

Treatments for Gender Dysphoria in Transgender Youth, Agency for    114
Healthcare Research and Quality (January 2021)




                                     10
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 11 of 19




Wylie C. Hembree et al., Endocrine Treatment of Gender-                115
Dysphoric/Gender-Incongruent Persons: An Endocrine Society
Clinical Practice Guideline, 109 J. OF CLINICAL ENDOCRINOLOGY &
METABOLISM 3869 (June 2024)

Eli Coleman et al., Standards of Care for the Health of Transgender    116
and Gender Diverse People, Version 8, 23 INT’L J. OF
TRANSGENDER HEALTH 51 (September 2022)

Joint Letter from USPATH and WPATH                                     117

Kellan E. Baker et al., Hormone Therapy, Mental Health, and            118
Quality of Life Among Transgender People: A Systematic Review, 5
J. OF THE ENDOCRINE SOC’Y 1 (February 2021)

Jennifer Block, Gender Dysphoria in Young People is Rising and so      119
is Professional Disagreement, THE BMJ (February 2023)

Aaron Sibarium, The Hijacking of Pediatric Medicine, THE FREE          120
PRESS (December 2022)

Julia Mason & Leor Sapir, The American Academy of Pediatrics’          121
Dubious Transgender Science, WALL STREET J. (August 2022)

Azeen Ghorayshi, Medical Group Backs Youth Gender Treatments,          122
but Calls for Research Review, NEW YORK TIMES (August 2023)

Jesse Singal, How the Fight over Transgender Kids Got a Leading        123
Sex Researcher Fired, THE CUT (February 2016)

Colin Wright, Anatomy of a Scientific Sandal, CITY JOURNAL (June       124
2023)

Erica Ciszek, et al., Discursive Stickiness: Affective Institutional   125
Texts and Activist Resistance, 10 PUBLIC RELATIONS INQUIRY 295
(April 2021)




                                         11
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 12 of 19




Kenneth J. Zucker, The Myth of Persistence: Response to “A           126
Critical Commentary on Follow-up Studies and ‘Desistance’
Theories about Transgender and Gender Non-conforming children”
by Temple Newhook et al. (2018), INT’L J. OF TRANSGENDERISM
(May 2018)

Mia Hughes, The WPATH Files: Pseudoscientific Surgical and           127
Hormonal Experiments on Children, Adolescents, and Vulnerable
Adults, ENVIRONMENTAL PROGRESS (March 2024)

Mia Hughes, Transcript: Identity Evolution Workshop Held on May      128
6, 2022, ENVIRONMENTAL PROGRESS (March 2024)

Affidavit of Jamie Reed                                              129

Jamie Reed, I Thought I Was Saving Trans Kids. Now I’m Blowing       130
the Whistle, THE FREE PRESS (February 2023)

Tamara Pietzke, I Was Told to Approve All Teen Gender Transitions.   131
I Refused., THE FREE PRESS (February 2023)

Jenny Jarvie, This Abortion Doctor Is Not Ready to Leave Alabama.    132
‘You don’t want me here? That’s why I’m gonna stay’, LOS ANGELES
TIMES (April 2023)

Abigail Shrier, Top Trans Doctors Blow the Whistle on ‘Sloppy’       133
Care, THE FREE PRESS (October 2021)

Erica Anderson, The Health Establishment Is Failing Young Adults     134
Who Question Their Gender, SAN FRANCISCO EXAMINER (March
2022)

Erica Anderson, When It Comes to Trans Youth, We’re in Danger of     135
Losing Our Way, SAN FRANCISCO EXAMINER (January 2022)

Laura Edwards-Leeper & Erica Anderson, The Mental Health             136
Establishment is Failing Trans Kids, WASHINGTON POST (November
2021)



                                      12
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 13 of 19




Riitakerttu Kaltiala, ‘Gender-Affirming Care Is Dangerous. I Know   137
Because I Helped Pioneer It.’, THE FREE PRESS (October 2023)

Riitakerttu Kaltiala et al., Have the Psychiatric Needs of People   138
Seeking Gender Reassignment Changed as Their Numbers
Increase? A Register Study in Finland, EUROPEAN PSYCHIATRIC
ASS’N (November 2023)

Emily Bazelon, The Battle Over Gender Therapy, NEW YORK TIMES       139
(June 2022)

Michelle Conlin, Robin Respaut & Chad Terhune, A Gender             140
Imbalance Emerges Among Trans Teens Seeking Treatment,
REUTERS (November 2022)

Azeen Ghorayshi, More Trans Teens Are Choosing ‘Top Surgery’,       141
NEW YORK TIMES (September 2022)

Jody L. Herman, Andrew R. Flores & Kathryn K. O’Neill, How          142
Many Adults and Youth Identify as Transgender in the United
States?, WILLIAMS INSTITUTE (June 2022)

Alex Card, Transgender Patients Are Increasingly Seeking Care–      143
Even as Bans Spread, DEFINITIVE HEALTHCARE (January 2024)

Alicia Ault, Doctors Have Failed Them, Say Those with               144
Transgender Regret, ADOLESCENT MEDICINE (April 2022)

The Evidence to Support Medicalised Gender Transitions in           145
Adolescents is Worryingly Weak, THE ECONOMIST (April 2023)

Declaration of Corinna Cohn                                         146

Corinna Cohn, What I Wish I’d Known When I Was 19 and Had Sex       147
Reassignment Surgery, WASHINGTON POST (April 2022)

Elie Vandenbussche, Detransition-Related Needs and Support: A       148
Cross-Sectional Online Survey, J. OF HOMOSEXUALITY (April 2021)



                                        13
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 14 of 19




Lisa Littman, et al., Detransition and Desistance Among Previously    149
Trans-Identified Young Adults, ARCHIVES OF SEXUAL BEHAVIOR
(December 2023)

Lisa Littman, Individuals Treated for Gender Dysphoria with           150
Medical and/or Surgical Transition Who Subsequently
Detransitioned: A Survey of 100 Detransitioners, ARCHIVES OF
SEXUAL BEHAVIOR (October 2021)

Risk of Pseudotumor Cerebri Added to Labeling for Gonadotropin-       151
releasing Hormone Agonists, AAP NEWS (July 2022)

LUPRON DEPOT-PED Prescribing Information                              152

E. Abbruzzese, Stephen B. Levine & Julia W. Mason, The Myth of        153
“Reliable Research” in Pediatric Gender Medicine: A Critical
Evaluation of the Dutch Studies–and Research That Has Followed,
J. OF SEX & MARITAL THERAPY (January 2023)

Sallie Baxendale, The Impact of Suppressing Puberty on                154
Neuropsychological Function: A Review, ACTA PAEDIATRICA
(February 2024)

Aditi Bhargava, et al., Considering Sex as a Biological Variable in   155
Basic and Clinical Studies: An Endocrine Society Scientific
Statement, ENDOCRINE REVIEWS (March 2021)

Michael Biggs, Puberty Blockers and Suicidality in Adolescents        156
Suffering from Gender Dysphoria, ARCHIVES OF SEXUAL BEHAVIOR
(June 2020)

Michael Biggs, Suicide by Clinic-Referred Transgender Adolescents     157
in the United Kingdom, ARCHIVES OF SEXUAL BEHAVIOR (January
2022)

Michael Biggs, The Dutch Protocol for Juvenile Transsexuals:          158
Origins and Evidence, J. OF SEX & MARITAL THERAPY (September
2022)



                                       14
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 15 of 19




Cecilia Dhejne et al., Long-Term Follow-Up of Transsexual Persons      159
Undergoing Sex Reassignment Surgery: Cohort Study in Sweden,
PLoS ON (February 2011)

Suzanne Diaz & J. Michael Bailey, Rapid Onset Gender Dysphoria:        160
Parent Reports on 1655 Possible Cases, ARCHIVES OF SEXUAL
BEHAVIOR (March 2023)

Annette Erlangsen, et al., Transgender Identity and Suicide Attempts   161
and Mortality in Denmark, JAMA (June 2023)

Stephen B. Levine & E. Abbruzzese, Current Concerns About              162
Gender-Affirming Therapy in Adolescents, CURRENT SEXUAL
HEALTH REPORTS (April 2023)

Stephen B. Levine, E. Abbruzzese & Julia W. Mason, What Are We         163
Doing to These Children? Response to Drescher, Clayton, and
Balon Commentaries on Levine et al., 2022, J. OF SEX & MARITAL
THERAPY (October 2022)

Stephen B. Levine, E. Abbruzzese & Julia M. Mason,                     164
Reconsidering Informed Consent for Trans-Identified Children,
Adolescents, and Young Adults, J. OF SEX & MARITAL THERAPY
(March 2022)

Lisa Littman, Parent Reports of Adolescents and Young Adults           165
Perceived to Show Signs of a Rapid Onset of Gender Dysphoria,
PLoS ONE (August 2018)

Johns Hopkins University Ex. 1                                         166

Johns Hopkins University Ex. 2                                         167

Johns Hopkins University Ex. 3                                         168

HHS Ex. 1                                                              169




                                       15
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 16 of 19




HHS Ex. 2                                                          170
(Submitted Under Seal)

HHS Ex. 3                                                          171

HHS Ex. 4                                                          172
(Submitted Under Seal)

HHS Ex. 5                                                          173
(Submitted Under Seal)

WPATH Ex. 1                                                        174
(Submitted Under Seal)

WPATH Ex. 2                                                        175
(Submitted Under Seal)

WPATH Ex. 3                                                        176
(Submitted Under Seal)

WPATH Ex. 4                                                        177
(Submitted Under Seal)

WPATH Ex. 5                                                        178
(Submitted Under Seal)

WPATH Ex. 6                                                        179
(Submitted Under Seal)

WPATH Ex. 7                                                        180
(Submitted Under Seal)

WPATH Ex. 8                                                        181
(Submitted Under Seal)

WPATH Ex. 9                                                        182
(Submitted Under Seal)




                                  16
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 17 of 19




WPATH Ex. 10                                                       183
(Submitted Under Seal)

WPATH Ex. 11                                                       184
(Submitted Under Seal)

WPATH Ex. 12                                                       185
(Submitted Under Seal)

WPATH Ex. 13                                                       186
(Submitted Under Seal)

WPATH Ex. 14                                                       187
(Submitted Under Seal)

WPATH Ex. 15                                                       188
(Submitted Under Seal)

WPATH Ex. 16                                                       189
(Submitted Under Seal)

WPATH Ex. 17                                                       190
(Submitted Under Seal)




                                  17
  Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 18 of 19




Dated: May 27, 2024                      Respectfully submitted,

                                         Steve Marshall
                                          Attorney General
Christopher Mills (pro hac vice)
SPERO LAW LLC                            s/ Edmund G. LaCour Jr.
557 East Bay Street, #22251              Edmund G. LaCour Jr. (ASB-9182-U81L)
Charleston, SC 29413                      Solicitor General
(843) 606-0640                           A. Barrett Bowdre (ASB-2087-K29V)
CMills@Spero.law                          Principal Deputy Solicitor General
David H. Thompson (pro hac vice)         James W. Davis (ASB-4063-I58J)
Peter A. Patterson (pro hac vice)         Deputy Attorney General
Brian W. Barnes (pro hac vice)           Benjamin M. Seiss (ASB-2110-O00W)
John D. Ramer (pro hac vice)             Charles A. McKay (ASB-7256-K18K)
COOPER & KIRK, PLLC                       Assistant Attorneys General
1523 New Hampshire Ave., NW
Washington, D.C. 20036                   OFFICE OF THE ATTORNEY GENERAL
(202) 220-9600                           STATE OF ALABAMA
dthompson@cooperkirk.com                 501 Washington Avenue
ppatterson@cooperkirk.com                Post Office Box 300152
bbarnes@cooperkirk.com                   Montgomery, Alabama 36130-0152
jramer@cooperkirk.com                    Telephone: (334) 242-7300
                                         Facsimile: (334) 353-8400
Roger G. Brooks (pro hac vice)           Edmund.LaCour@AlabamaAG.gov
Henry W. Frampton, IV (pro hac           Barrett.Bowdre@AlabamaAG.gov
vice)                                    Jim.Davis@AlabamaAG.gov
Philip A. Sechler (pro hac vice)         Ben.Seiss@AlabamaAG.gov
Alliance Defending Freedom               Charles.McKay@AlabamaAG.gov
15100 N. 90th Street
Scottsdale, AZ 85260
(480) 444-0200
rbrooks@adflegal.org
hframpton@adflegal.org
psechler@adflegal.org
                                         Counsel for Defendants




                                    18
   Case 2:22-cv-00184-LCB-CWB Document 557 Filed 05/27/24 Page 19 of 19




                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on May 27, 2024, which will serve all counsel of record.

                                     s/ Edmund G. LaCour Jr.
                                     Edmund G. LaCour Jr.
                                     Counsel for Defendants




                                       19
